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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,

               Plaintiff,

       vs.                                                    Civ. No. 20-237 KK/SCY

MEOW WOLF, INC., a Delaware
Corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

               Defendants.

      ORDER SETTING CASE MANAGEMENT DEADLINES AND DISCOVERY
                           PARAMETERS

       THIS MATTER came before the Court on a Rule 16 scheduling conference held on

October 6, 2020. Following a review of the attorneys’ Joint Status Report and Provisional

Discovery Plan, and after conferring with counsel, the Court will permit the following discovery:

       a)      Maximum of 25 Interrogatories by each party to any other party;

       b)      Maximum of 25 Requests for Admission by each party to any other party;

       c)      Maximum 50 Request for Production by each party to any other party;

       d)      Maximum of 10 Depositions per side limited to 7 hours each, and 5 Depositions

               per side limited to 3 hours each;

       Service of interrogatories, requests for production, or requests for admission shall be

considered timely only if the responses are due prior to the deadline. A notice to take deposition

shall be considered timely only if the deposition takes place prior to the deadline.
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         The Court has set the following management deadlines:

          a) Deadline for Plaintiff to move to add additional parties
             and to amend pleadings1:                                                               November 20, 2020

          b) Deadline for Defendants to move to add additional parties
             and to amend pleadings1:                                                               November 30, 2020

          c) Plaintiff’s Rule 26(a)(2) expert disclosure2:                                                March 5, 2021

          d) Defendants’ Rule 26(a)(2) expert disclosure2:                                                  April 2, 2021

          e) Termination date for discovery:                                                              April 30, 2021

          f) Motions relating to non-expert discovery to be filed by:                                        June 1, 2021

          g) Motions relating to expert discovery to be filed by:                                          June 14, 2021

          h) Pretrial motions other than discovery motions (including                                      June 21, 2021
             motions which may require a Daubert hearing) filed by:

          i) Pretrial Order:          Plaintiff to Defendants:                                         August 31, 2021
                                      Defendants to Court by:                                       September 15, 2021

         Any extension of the case management deadlines must be approved by the Court. Any

requests for additional discovery must be submitted to the Court by motion prior to the

expiration of the discovery.


                                                                ____________________________________
                                                                STEVEN C. YARBROUGH
                                                                United States Magistrate Judge



1
 Federal Rule of Civil Procedure 16 requires that the Court set a deadline for amendment of pleadings and joinder of
parties. A party seeking to amend the pleadings after the above dates must both demonstrate good cause to amend
the scheduling order as required by Federal Rule of Civil Procedure 16(b) and satisfy the requirements for
amendment under Federal Rule of Civil Procedure 15(a). See, e.g., Gorsuch Ltd., B.C. v. Wells Fargo Nat’l Bank
Ass’n, 771 F.3d 1230, 1242 (10th Cir. 2014).
2
  Parties must disclose the names of all expert witnesses, including treating physicians, the subject matter on which
the experts will present evidence, and a summary of the facts and opinions to which the experts are expected to
testify by this date. Experts who are retained or specifically employed to provide expert testimony must also submit
an expert report by this date. See Fed. R. Civ. P. 26(a)(2). The parties must have their retained expert(s) ready to be
deposed at the time they identify them and provide their reports. Expert witnesses who are not required to provide a
written report may be deposed before summary disclosure.

                                                          2
